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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                      No. 1:21-cv-09574-JMF
IN RE: SECOND WAVE IBM
ARBITRATION AGREEMENT
LITIGATION

                              Defendant.

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs and

Defendant International Business Machines Corporation, through their undersigned counsel, who

are authorized to execute this Stipulation, hereby dismiss the above-captioned consolidated cases

as against Defendant, with prejudice, and with no award of attorneys’ fees, costs and/or

disbursements to any party. For the avoidance of confusion, the Plaintiffs listed below all

initiated separate litigations, which were consolidated before the Court in the above-captioned

matter. The above-captioned consolidated matter and the individual matters listed below should

all be dismissed with prejudice pursuant to this Stipulation.


                   1. Apana, Steve - 1:21-CV-09661
                   2. Arnhols, Walter - 1:21-CV-09744
                   3. Bedard, Pierre - 1:21-CV-09662
                   4. Brackett, Paul - 1:21-CV-09721
                   5. Burch, Melissa - 1:21-CV-09666
                   6. Carceller, Salvador - 1:21-CV-09715
                   7. Chapa, Rene - 1:21-CV-09668
                   8. Cimina, Richard - 1:21-CV-09738
                   9. Cote, Denise - 1:21-CV-09669
                   10. Cox, Martha - 1:21-CV-09679
                   11. Cupelo, Mark - 1:21-CV-09741
                   12. Daglio, John - 1:21-CV-09677
                   13. Dawkins, Louis - 1:21-CV-09745
                   14. deGroh, Marie - 1:21-CV-09713
                   15. Di Maio, Elizabeth - 1:21-CV-09725
                   16. Dobson, Fred - 1:21-CV-09718



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                 17. Gilmore, Sharon - 1:21-CV-09574
                 18. Douglass, Kelli - 1:21-CV-09720
                 19. Dunbar, William - 1:21-CV-09722
                 20. Fobbs, Sarita - 1:21-CV-09727
                 21. Fryett, Christopher - 1:21-CV-09678
                 22. Greenberg, Jesse - 1:21-CV-09723
                 23. Hou, Timothy - 1:21-CV-09683
                 24. Hunter, Donald - 1:21-CV-09743
                 25. Jackson, Betty - 1:21-CV-09726
                 26. Jefferson, Toni - 1:21-CV-09730
                 27. Johnson, Bonnie - 1:21-CV-09693
                 28. Krishnamurthy, Usha - 1:21-CV-09705
                 29. Lapointe, Nancy - 1:21-CV-09685
                 30. Liesen, David - 1:21-CV-10128
                 31. Markos, George - 1:21-CV-09733
                 32. Martin, Kenneth - 1:21-CV-09691
                 33. Mazzarelli, Gina - 1:21-CV-09735
                 34. Moliterni, Lara - 1:21-CV-09737
                 35. Nassar, Gregory - 1:21-CV-09731
                 36. Nelson, Rolf - 1:21-CV-09663
                 37. Nydam, David - 1:21-CV-09716
                 38. Pace, Brigitte - 1:21-CV-09739
                 39. Philips, Patrisa - 1:21-CV-09697
                 40. Reid, Steven - 1:21-CV-09734
                 41. Rivard-Gardner, Patricia - 1:21-CV-09701
                 42. Roberts, Jeffrey - 1:21-CV-09717; 1:21-CV-09719
                 43. Sayles, Andrea - 1:21-CV-09703
                 44. Schairer, Mark - 1:21-CV-09724
                 45. Shofler, Justin - 1:21-CV-09729
                 46. Spellman, Richard - 1:21-CV-09732
                 47. Trapp, Cliff - 1:21-CV-10979
                 48. Zerafa, Diane - 1:21-CV-09736
                 49. Zoglin, John - 1:21-CV-09742


Dated: July 15, 2022



/s/ Shannon Liss-Riordan_______________    /s/ Matthew W. Lampe______________________
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